            Case 3:13-cr-00305-L          Document 62          Filed 07/29/14       Page 1 of 1      PageID 111
                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                               DALLAS DNISION        r----"':"U~.S~.D-I-STRI_C_T_C_O_UR_T----.
                                                                                       NORTHERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA                                   §
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                                                                                                 FILED
                                                                                                    2 g 2014
V.                                                         §     CASE NO.: 3:1 CR-003( 5-LJUL
                                                           §
SCOTT ANDREW BACH (1)                                      §
                                                                                      C~:RK, U.S. DISTRIC~
                                                                  i
                                        REPORT AND RECOMMENDATION                                  Deputy    ~
                                         CONCERNING PLEA OF GUILTY                            ---           -------·······

        SCOTT ANDREW BACH, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir. 1997),
has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) Two and Three of the
Indictment After cautioning and examining SCOTT ANDREW BACH under oath concerning each of the subjects
mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged
are supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that SCOTT ANDREW BACH be adjudged guilty of 21 U.S.C. § 846
and (b)(l)(C), Conspiracy to Possess a Controlled Substance With Intent to Distribute; and 21 U.S.C. § 846(b)(l)(B),
Conspiracy to Possess a Controlled Substance With Intent to Distribute and have sentence imposed accordingly. After
being found guilty of the offense by the district judge,

        The defendant is currently in custody and should be ordered to remain in custody.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        D       The Government does not oppose release.
        D       The defendant has been compliant with the current conditions of release.
        D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        D       The Government opposes release.
        D       The defendant has not been compliant with the conditions of release.
        D       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
        evidence that the defendant is not likely to flee or pose a danger to any other person or the community if released.

Date:   29th day of July, 2014




Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date fits se vice
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States
Judge. 28 U.S.C. §636(b)(l)(B).
